         Case 1-18-45280-nhl        Doc 14      Filed 09/17/18      Entered 09/17/18 10:25:46




UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                           Chapter 11

Blue Gold Equities LLC, et al.,                                  Case No. 18-45280-nhl

                     Debtors.                                    (Jointly Administration Pending)


                                    NOTICE OF APPEARANCE AND
                                REQUEST FOR SERVICE OF DOCUMENTS


                   PLEASE TAKE NOTICE that DC Brothers II LLC ( “DC Brothers”), hereby appear in

these chapter 11 cases by counsel, Norton Rose Fulbright US LLP, and demand, pursuant to Rules 2002,

9007, and 9010 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), that all notices

given in these cases and all papers served or required to be served in these cases, be given to and served

upon the undersigned counsel, at the address set forth below. An e-mail address is included and notice by

e-mail is affirmatively acknowledged as being acceptable:

                                  Samuel S. Kohn
                                  James A. Copeland
                                  NORTON ROSE FULBRIGHT US LLP
                                  1301 Avenue of the Americas
                                  New York, New York 10019-6022
                                  Telephone: (212) 408-5100
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                                          james.copeland@nortonrosefulbright.com

                   PLEASE TAKE FURTHER NOTICE that the foregoing demand includes not only the

notices and papers referred to in the Bankruptcy Rules specified above, but also includes, without

limitation, orders and notices of any application, motion, petition, pleading, complaint, demand,

disclosure statement, chapter 11 plan, or any other document which in any way affect the debtors or their

property, whether transmitted or conveyed by mail delivery, telephone, facsimile, telex, or otherwise.




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                   PLEASE TAKE FURTHER NOTICE that, this appearance and demand for notice is

neither intended as nor is it a consent of the DC Brothers to the jurisdiction of the Bankruptcy Court nor,

specifically but not limited to, a waiver of (i) the DC Brothers’ rights to have final orders in non-core

matters entered only after de novo review by a district judge; (ii) the DC Brothers’ rights to trial by jury in

any proceeding so triable herein, or in any case, controversy or proceeding related hereto; (iii) the DC

Brothers’ rights to have the reference withdrawn by the District Court in any matter subject to mandatory

or discretionary withdrawal; or (iv) any other rights, claims, actions, or defenses to which the DC

Brothers is or may be entitled under any agreement, in law, or in equity, all of which rights, claims,

actions, and defenses, the DC Brothers expressly reserves.

Dated: New York, New York
       September 17, 2018


                                                   Respectfully submitted,
                                                   NORTON ROSE FULBRIGHT US LLP


                                                   By: /s/ Samuel S. Kohn
                                                      Samuel S. Kohn
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                                                       Attorneys for the DC Brothers II LLC




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